Case 1:18-cr-00361 Document 1 Filed in TXSD on 04/21/18 Page 1 of 1
United States District Court

. . . "' Southern District of Texas
AO91 (Rev. 12/03) Crlmmal Complamt l ’@ l 0 V~) L,| AUSA F||_ED

UNITED sTATES i)lsTRlcT CoURT APR 21 2013

 

 

Southem District Of Texas Brownsville Division Dav`d J' Brad`°y' c|erk °f court

UNITED STATES OF AMERICA CRIMINAL COMPLAINT
vs.

lose Luis GARZA-_Rivera Case Number: B'ls' m J/Z 87

A078 553 221 Mexico

l, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about April 192 2018 in Cameron County, in
the Southem District Of Texas defendant(s)

 

an alien who had previously been denied admission, excluded, deported, or removed, knowingly and unlawfully was present in
the United States having been found in Cameron County, Texas, the said defendant having not obtained the consent of the
Attorney General or the Secretary of the Department ofHomeland Security to reapply for admission into the United States,

 

in violation of Title 8 United States Code, Section(s) l326(a)(l )/(b)(l)
l further state that l am a(n) B_QLd§LP_alIQLA£§Dl and that this complaint is based on the
following facts:

The defendant was encountered by Border Patrol Agents assisting DPS Officers in a traffic stop near Harlingen, Texas_on April
19, 2018. The defendant is a citizen and national ofMexico who was previously deported; excluded or removed from the United
States on February 14, 2014. The defendant was convicted of Alien Unlawfully Found in the United States ARer Deportation,
Having Previously Been Convicted of a Felony on December 6, 2012. Record checks revealed that the defendant has not applied
for permission from the proper Authorities to re-enter the United States.

Defendant had $20 USD in his possession at time of arrest.

Continued on the attached sheet and made a part of this complaint f:] Yes ® o

%womplaimmt

Castro, Mario Border Patrol Agent

 

 

 

Submitted by reliable electronic means, sworn to and signature attested prim°d Na'“° °fc°mph‘i“am

as per Fed. F\ules Cr. Proc. 4.1

April 2|, 2018 at Bmwnsville, Texas _
Date City/State

aonaid G. Morgan u.s. Ma@rme Judg¢ Ma-<y/

Name of Judgc Title ofjudge Signature ofJudge

